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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


LOIS JONES, LARRY T. JONES, TARON S.   )
JONES, JACOB M. D. JONES, and AMBRIANA )
JENKINS,                               )
                                       )
                Plaintiffs,            )
      v.                               )                   Case No. 12 C 07835
                                       )
VINCE BALDASSANO, RICHARD M. MAHER, )                      Judge Thomas M. Durkin
TIM E. WOOD, PAUL J. PARKS, TIMOTHY L. )
GRANVILLE, KAREN RITTORNO, ERIC R.     )                   Magistrate Judge Michael T. Mason
OLSON, CHRISTOPHER L. MALENOCK,        )
MARTIN T. BRENNAN, ERIK A. MIEHLE,     )                   JURY TRIAL DEMANDED
ANTHONY J. JANNOTTA, JEFFREY T.        )
SALVETTI, ERICK P. SENG, UNKNOWN       )
OFFICERS OF THE CHICAGO POLICE         )
DEPARTMENT, and CITY OF CHICAGO,       )
                                       )
                Defendants.            )



                 FOURTH AMENDED CIVIL RIGHTS COMPLAINT

       Plaintiffs, LOIS JONES, LARRY T. JONES, TARON S. JONES, JACOB M. D. JONES,

and AMBRIANA JENKINS, by and through their attorney, Irene K. Dymkar, as their Fourth

Amended Civil Rights Complaint against defendants, VINCE BALDASSANO, RICHARD M.

MAHER, TIM E. WOOD, PAUL J. PARKS, TIMOTHY L. GRANVILLE, KAREN
RITTORNO, ERIC R. OLSON, CHRISTOPHER L. MALENOCK, MARTIN T. BRENNAN,

ERIK A. MIEHLE, ANTHONY J. JANNOTTA, JEFFREY T. SALVETTI, ERICK P. SENG,

UNKNOWN OFFICERS OF THE CHICAGO POLICE DEPARTMENT, and CITY OF

CHICAGO, state as follows:
                                     NATURE OF CLAIM

       1.      This action arises under the United States Constitution and the laws of the United

States, specifically the Civil Rights Act of 1871 (42 U.S.C. § 1983), to redress deprivations of

the civil rights of plaintiffs through acts and/or omissions of defendants committed under color


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of law. Specifically here, defendants deprived plaintiffs of their rights under the Fourth and

Fourteenth Amendments to the United States Constitution.

        2.      Additionally, plaintiffs rely upon the Court’s supplemental jurisdiction to assert

the Illinois state claims asserted herein.

                                  JURISDICTION AND VENUE

        3.      Jurisdiction is based upon 28 U.S.C. §§1343, 1331, and 1367.

        4.      Venue lies in the United States District Court, Northern District of Illinois,

pursuant to 28 U.S.C. §1391, because all events or omissions giving rise to this claim occurred

in this jurisdiction.
                                             PARTIES

        5.      At all times herein mentioned, plaintiffs, LOIS JONES, LARRY T. JONES,

TARON S. JONES, JACOB M. D. JONES, and AMBRIANA JENKINS, were and are citizens

of the United States and reside within the jurisdiction of the court.

        6.      All plaintiffs are adults as of the filing of this Fourth Amended Complaint.

        7.      At all times herein mentioned, defendants VINCE BALDASSANO (hereinafter

BALDASSANO), RICHARD M. MAHER (hereinafter MAHER), TIM E. WOOD (hereinafter

WOOD) , PAUL J. PARKS (hereinafter PARKS), TIMOTHY L. GRANVILLE (hereinafter

GRANVILLE), KAREN RITTORNO (hereinafter RITTORNO), ERIC R. OLSON (hereinafter

OLSON), CHRISTOPHER L. MALENOCK (hereinafter MALENOCK), MARTIN T.

BRENNAN (hereinafter BRENNAN), ERIK A. MIEHLE (hereinafter MIEHLE), ANTHONY J.

JANNOTTA (hereinafter JANNOTTA), JEFFREY T. SALVETTI (hereinafter SALVETTI),

ERICK P. SENG (hereinafter SENG), and UNKNOWN OFFICERS OF THE CHICAGO

POLICE DEPARTMENT (hereinafter UNKNOWN OFFICERS) were officers in the Chicago

Police Department and were acting under color of state law and as the employees or agents of

the CITY OF CHICAGO, Illinois. Said defendants are being sued in their individual capacity.


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          8.     Defendant CITY OF CHICAGO is a municipal corporation, duly organized under

the laws of the State of Illinois. Defendant CITY OF CHICAGO maintained, managed, and/or

operated the Chicago Police Department.

          9.     The Chicago Police Department has express and implied policies and procedures,

and practices so prevalent as to constitute municipal policies and procedures, which resulted in

the alleged constitutional violations to plaintiffs.


                                    STATEMENT OF FACTS

          10.    At all times mentioned herein, plaintiffs LOIS JONES and LARRY T. JONES

lived at 1244 N. Mason Street in Chicago, Illinois. Plaintiffs TARON S. JONES and

JACOB M.D. JONES are their grandsons. Plaintiff AMBRIANA JENKINS was a visitor to the

Jones’ home on July 18, 2012.
                                      September 28 - 29, 2010

          11.    On September 28 - 29, 2010, at approximately midnight, UNKNOWN

OFFICERS entered the Jones residence, without a warrant, without permission, and without

legal justification.

          12.    The UNKNOWN OFFICERS searched the home, with canines present, and then

left.

          13.    The UNKNOWN OFFICERS are identified in police records recently obtained by

plaintiffs as Thomas Cotter, Jairam Ramkumar, Brian Dorsch, Maher Saleiman, Anthony

Cardella, Mohammed Yusuf, Richard King, Stephanie Zachar, Linda Romano, and Joseph

Plovanich.

          14.    Two weeks after the event, an UNKNOWN OFFICER (a sergeant) came to the

home and asked plaintiffs if they were going to sue the CITY OF CHICAGO.

          15.    The UNKNOWN OFFICER (sergeant) asked plaintiff LOIS JONES to sign

papers, which she refused to do.


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                                          June 25, 2012

       16.      On June 25, 2012, at approximately 9:30 - 10:00 PM, defendants OLSON,

MALENOCK, BRENNAN, and UNKNOWN OFFICERS entered the Jones residence, without a

warrant, without permission, and without legal justification.

.      17.      Defendants OLSON, MALENOCK, BRENNAN, and UNKNOWN OFFICERS

failed to knock and wait a reasonable amount of time for a response before they broke down the

back door.

       18.      Defendants OLSON, MALENOCK, BRENNAN, and UNKNOWN OFFICERS

entered the home with guns drawn.

       19.      Defendants OLSON, MALENOCK, BRENNAN, and UNKNOWN OFFICERS

said to plaintiff LOIS JONES, who was home cooking, that they saw someone run into the

home. However, no one had run into the home.

       20.      Defendants OLSON, MALENOCK, BRENNAN, and UNKNOWN OFFICERS

searched the home and then left.

       21.      The back door of the Jones’ home was fixed by a contractor at CITY OF

CHICAGO’s expense.

       22.      Plaintiff LOIS JONES went to the police station to complain about the illegal

search and spoke to defendant OLSON. She asked him for a police report of the event, but was

told that no police records were made or kept of this event.

                                          July 18, 2012

       23.      On July 18, 2012, at approximately 8:30 - 9:00 PM, defendant BALDASSANO

MAHER, WOOD, PARKS, GRANVILLE, RITTORNO, and UNKNOWN OFFICERS arrived

at 1244 N. Mason Street with a warrant to search Monique Jones and the premises at 1244 N.

Mason Street.

       24.      The search warrant was for “a blue steel semi automatic rifle, ammunition and

any documents providing proof of residency” constituting evidence of the offense of “Possess

[sic] Firearm Without Valid F.O.I.D. Card.”

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       25.     The search warrant was obtained by appearing in front of a criminal court judge

with an informant.

       26.     Defendants BALDASSANO, and officers assisting him, MAHER, WOOD,

PARKS, GRANVILLE, RITTORNO, and UNKNOWN OFFICERS, knew that the informant

was unreliable and that his information about criminal activity was unreliable.

       27.     Defendants BALDASSANO and officers assisting him, MAHER, WOOD,

PARKS, GRANVILLE, RITTORNO, and UNKNOWN OFFICERS, knew that Monique Jones

has a mental health condition and was taken to a hospital by Chicago police officers, including

one or more of the defendants, for mental health treatment on July 17, 2012, and therefore could

not have been present in the Jones home and in possession of a weapon.

       28.     Defendants BALDASSANO and officers assisting him, MAHER, WOOD,

PARKS, GRANVILLE, RITTORNO, and UNKNOWN OFFICERS, knew that the information

presented to the judge was not true, had not been verified, and was unverifiable.

       29.     Defendants BALDASSANO and officers assisting him, MAHER, WOOD,

PARKS, GRANVILLE, RITTORNO, and UNKNOWN OFFICERS, intentionally presented

false information to the judge in order to obtain the search warrant and it was in reliance on that

false information that the judge signed the warrant.

       30.     Defendants BALDASSANO, MAHER, WOOD, PARKS, GRANVILLE,

RITTORNO, and UNKNOWN OFFICERS failed to knock and wait a reasonable amount of time

for a response before they broke the door and entered with guns drawn.

       31.     Plaintiffs TARON S. JONES and AMBRIANA JENKINS, a visitor to the Jones’

home, were handcuffed to a fence and detained outside TARON’s grandparents’ property at

1244 N. Mason Street while defendants BALDASSANO, MAHER, WOOD, PARKS,

GRANVILLE, RITTORNO, and UNKNOWN OFFICERS entered and searched the home.

       32.     Defendants BALDASSANO, MAHER, WOOD, PARKS, GRANVILLE,

RITTORNO, and UNKNOWN OFFICERS illegally detained plaintiff LOIS JONES and

illegally cuffed and detained plaintiff LARRY T. JONES.

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       33.     Defendants BALDASSANO, MAHER, WOOD, PARKS, GRANVILLE,

RITTORNO, and UNKNOWN OFFICERS left the Jones home in total disarray.

       34.     By reason of the above-described acts and omissions of the defendant police

officers, plaintiffs sustained injuries, humiliation, and indignities, and suffered great mental and

emotional pain and suffering, all to their damage.
                                          August 21, 2013

       35.     On August 21, 2013, at approximately 9:30 PM, four officers who have recently

been identified as defendants MIEHLE, JANNOTTA, SALVETTI, and SENG entered the Jones

residence without a warrant, without permission, and without legal justification.

       36.     The four officers were dressed in plain clothes and despite LOIS JONES’

repeated requests for their names, they refused to identify themselves.

       37.     Defendants MIEHLE, JANNOTTA, SALVETTI, and SENG were riding in what

looked like a brown Chevy Tahoe, with a license plate that appeared to be M7234.

       38.     Defendants MIEHLE, JANNOTTA, SALVETTI, and SENG searched the Jones

home without a warrant, without permission, and without legal justification.

       39.     Defendants MIEHLE, JANNOTTA, SALVETTI, and SENG detained LOIS

JONES, TARON JONES, and JACOB M. D. JONES.

       40.     Defendants MIEHLE, JANNOTTA, SALVETTI, and SENG searched and cuffed

TARON JONES and JACOB M. D. JONES.

       41.     Defendants MIEHLE, JANNOTTA, SALVETTI, and SENG left without formally

taking anyone into custody. One officer said as he was leaving, “Good luck with the lawsuit.”

       42.     The aforementioned acts of the defendant police officers were willful, wanton,

malicious, oppressive, and done with reckless indifference to and/or callous disregard for

plaintiffs’ rights and justify the awarding of exemplary and punitive damages.

       43.     These unconstitutional acts alleged were committed on the initiative of individual

officers and also pursuant to express and implied policies and procedures of the Chicago Police



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Department, and practices of the Chicago Police Department so prevalent as to constitute

municipal policies and procedures.

        44.     By reason of the above-described acts and omissions of the defendant police

officers, plaintiffs were required to retain an attorney to institute, prosecute and render legal

assistance to them in the within action, so that they might vindicate the loss and impairment of

their rights. By reason thereof, plaintiffs request payment by defendants of a reasonable sum for

attorneys’ fees pursuant to 42 U.S.C. §1988, the Equal Access to Justice Act, or any other

provision set by law.

                                          COUNT I
      Plaintiffs LOIS JONES and LARRY T. JONES Against CITY OF CHICAGO for
                  Unconstitutional Entry of Home on September 28 - 29, 2010

        45.     Plaintiffs LOIS JONES and LARRY T. JONES incorporate and reallege paragraphs

1 - 44, as though set forth herein in their entirety.

        46.     UNKNOWN OFFICERS, identified in police records recently obtained by plaintiffs

as Thomas Cotter, Jairam Ramkumar, Brian Dorsch, Maher Saleiman, Anthony Cardella,

Mohammed Yusuf, Richard King, Stephanie Zachar, Linda Romano, and Joseph Plovanich, entered

plaintiffs’ home at 1244 N. Mason Street in Chicago, Illinois, on September 28 - 29, 2010, without a

warrant for the home, without permission, and without legal cause, thus invading and violating

plaintiffs’ security and privacy.

        47.     By reason of the conduct of said UNKNOWN OFFICERS, plaintiffs LOIS JONES

and LARRY T. JONES were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder.

        48.     In addition, the misconduct described alleged herein was undertaken pursuant to the

policy and practice of the Chicago Police Department in that:

                a.       As a matter of both policy and practice, the Chicago Police Department

                         directly encourages, and thereby the moving force behind, the very type of


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               police misconduct at issue here by failing to adequately train, supervise, and

               control its officers, such that its failure to do so manifests deliberate

               indifference.

         b.    As a matter of both policy and practice, the Chicago Police Department

               facilitates the very type of police misconduct at issue here by failing to

               adequately punish and discipline prior instances of misconduct, thereby

               leading Chicago police officers to believe their actions will never be

               scrutinized and, in that way, directly encourages future abuses such as those

               affecting plaintiffs.

         c.    By use of an express policy of the Chicago Police Department, officers

               improperly use so-called “John Doe” informants and obtain so-called “John

               Doe” warrants without verifying the reliability of the informants and/or the

               reliability of their information.

         d.    As a matter of implied policy and widespread practice so prevalent as to

               comprise municipal policy, officers of the Chicago Police Department

               illegally enter and search homes without a warrant, improperly use “John

               Doe” informants, improperly obtain so-called “John Doe” warrants without

               verifying the reliability of the informants and the reliability of their

               information, misrepresent information to magistrates in order to obtain

               warrants, fail to document police activity in reports which may be questioned

               in order to avoid scrutiny and accountability, and illegally seize, detain, and

               use force on citizens in a manner similar to that alleged by plaintiffs herein.

         e.    Municipal policy-makers are aware of, and condone and facilitate by their

               inaction, a “code of silence” in the Chicago Police Department, by which

               officers fail to report misconduct committed by other officers, such as the

               misconduct at issue in this case.



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                f.      The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                        described in Count I, despite actual knowledge of same, thereby causing the

                        types of injuries alleged herein.

         49.    By reason of the policies, practices, and procedures of defendant CITY OF

CHICAGO, plaintiffs were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder. Therefore, defendant CITY OF CHICAGO is liable to plaintiffs pursuant to 42 U.S.C.

§1983.


                                          COUNT II
      Plaintiffs LOIS JONES and LARRY T. JONES Against CITY OF CHICAGO for
                  Unconstitutional Search of Home on September 28 - 29, 2010

         50.    Plaintiffs LOIS JONES and LARRY T. JONES incorporate and reallege paragraphs

1 - 44, as though set forth herein in their entirety.

         51.    UNKNOWN OFFICERS, identified in police records recently obtained by plaintiffs

as Thomas Cotter, Jairam Ramkumar, Brian Dorsch, Maher Saleiman, Anthony Cardella,

Mohammed Yusuf, Richard King, Stephanie Zachar, Linda Romano, and Joseph Plovanich,

searched plaintiffs’ home at 1244 N. Mason Street in Chicago, Illinois, on September 28 - 29, 2010,

without a warrant for the home, without permission, and without legal cause, thus invading and

violating plaintiffs’ security and privacy.

         52.    By reason of the conduct of UNKNOWN OFFICERS, plaintiffs LOIS JONES and

LARRY T. JONES were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder.

         53.    In addition, the misconduct described alleged herein was undertaken pursuant to the

policy and practice of the Chicago Police Department in that:

                a.      As a matter of both policy and practice, the Chicago Police Department

                        directly encourages, and thereby the moving force behind, the very type of


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                police misconduct at issue here by failing to adequately train, supervise, and

                control its officers, such that its failure to do so manifests deliberate

                indifference.

         b.     As a matter of both policy and practice, the Chicago Police Department

                facilitates the very type of police misconduct at issue here by failing to

                adequately punish and discipline prior instances of misconduct, thereby

                leading Chicago police officers to believe their actions will never be

                scrutinized and, in that way, directly encourages future abuses such as those

                affecting plaintiffs.

         c.     By use of an express policy of the Chicago Police Department, officers

                improperly use so-called “John Doe” informants and obtain so-called “John

                Doe” warrants without verifying the reliability of the informants and/or the

                reliability of their information.

         d.     As a matter of implied policy and widespread practice so prevalent as to

                comprise municipal policy, officers of the Chicago Police Department

                illegally enter and search homes without a warrant, improperly use “John

                Doe” informants, improperly obtain so-called “John Doe” warrants without

                verifying the reliability of the informants and the reliability of their

                information, misrepresent information to magistrates in order to obtain

                warrants, fail to document police activity in reports which may be questioned

                in order to avoid scrutiny and accountability, and illegally seize, detain, and

                use force on citizens in a manner similar to that alleged by plaintiffs herein.

         e.     Municipal policy-makers are aware of, and condone and facilitate by their

                inaction, a “code of silence” in the Chicago Police Department, by which

                officers fail to report misconduct committed by other officers, such as the

                misconduct at issue in this case.



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                f.      The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                        described in Count II, despite actual knowledge of same, thereby causing the

                        types of injuries alleged herein.

         54.    By reason of the policies, practices, and procedures of defendant CITY OF

CHICAGO, plaintiffs were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder. Therefore, defendant CITY OF CHICAGO is liable to plaintiffs pursuant to 42 U.S.C.

§1983.

                                    COUNT III
Plaintiffs LOIS JONES and LARRY T. JONES Against OLSON, MALENOCK, BRENNAN,
UNKNOWN OFFICERS, and CITY OF CHICAGO for Unconstitutional Entry of Home on
                                   June 25, 2012

         55.    Plaintiffs LOIS JONES and LARRY T. JONES incorporate and reallege paragraphs

1 - 44, as though set forth herein in their entirety.

         56.    Defendants OLSON, MALENOCK, BRENNAN, and UNKNOWN OFFICERS

entered plaintiffs’ home at 1244 N. Mason Street in Chicago, Illinois, on June 25, 2012, without a

warrant for the home, without permission, and without legal cause, thus invading and violating

plaintiffs’ security and privacy.

         57.    Defendants OLSON, MALENOCK, BRENNAN, and UNKNOWN OFFICERS

failed to knock and wait a reasonable amount of time for a response before they broke down the

back door and entered plaintiffs’ home.

         58.    By reason of the conduct of defendants OLSON, MALENOCK, BRENNAN, and

UNKNOWN OFFICERS, plaintiffs LOIS JONES and LARRY T. JONES were deprived of rights,

privileges and immunities secured to them by the Fourth and Fourteenth Amendments to the

Constitution of the United States and laws enacted thereunder. Therefore, defendants are liable to

plaintiffs pursuant to 42 U.S.C. §1983.

         59.    In addition, the misconduct described herein was undertaken pursuant to the policy

and practice of the Chicago Police Department in that:

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         a.     As a matter of both policy and practice, the Chicago Police Department

                directly encourages, and thereby the moving force behind, the very type of

                police misconduct at issue here by failing to adequately train, supervise, and

                control its officers, such that its failure to do so manifests deliberate

                indifference.

         b.     As a matter of both policy and practice, the Chicago Police Department

                facilitates the very type of police misconduct at issue here by failing to

                adequately punish and discipline prior instances of misconduct, thereby

                leading Chicago police officers to believe their actions will never be

                scrutinized and, in that way, directly encourages future abuses such as those

                affecting plaintiffs.

         c.     By use of an express policy of the Chicago Police Department, officers

                improperly use so-called “John Doe” informants and obtain so-called “John

                Doe” warrants without verifying the reliability of the informants and/or the

                reliability of their information.

         d.     As a matter of implied policy and widespread practice so prevalent as to

                comprise municipal policy, officers of the Chicago Police Department

                illegally enter and search homes without a warrant, improperly use “John

                Doe” informants, improperly obtain so-called “John Doe” warrants without

                verifying the reliability of the informants and the reliability of their

                information, misrepresent information to magistrates in order to obtain

                warrants, fail to document police activity in reports which may be questioned

                in order to avoid scrutiny and accountability, and illegally seize, detain, and

                use force on citizens in a manner similar to that alleged by plaintiffs herein.

         e.     Municipal policy-makers are aware of, and condone and facilitate by their

                inaction, a “code of silence” in the Chicago Police Department, by which



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                        officers fail to report misconduct committed by other officers, such as In

                        addition, the misconduct at issue in this case.

                f.      The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                        described in Count III, despite actual knowledge of same, thereby causing

                        the types of injuries alleged herein.

         60.    By reason of the policies, practices, and procedures of defendant CITY OF

CHICAGO, plaintiffs were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder. Therefore, defendant CITY OF CHICAGO is liable to plaintiffs pursuant to 42 U.S.C.

§1983.

                                    COUNT IV
Plaintiffs LOIS JONES and LARRY T. JONES Against OLSON, MALENOCK, BRENNAN,
UNKNOWN OFFICERS, and CITY OF CHICAGO for Unconstitutional Search of Home on
                                   June 25, 2012

         61.    Plaintiffs LOIS JONES and LARRY T. JONES incorporate and reallege paragraphs

1 - 44, as though set forth herein in their entirety.

         62.    Defendants OLSON, MALENOCK, BRENNAN, and UNKNOWN OFFICERS

searched plaintiffs’ home at 1244 N. Mason Street in Chicago, Illinois, on June 25, 2012, without a

warrant for the home, without permission, and without legal cause, thus invading and violating

plaintiffs’ security and privacy.

         63.    By reason of the conduct of defendants OLSON, MALENOCK, BRENNAN, and

UNKNOWN OFFICERS, plaintiffs LOIS JONES and LARRY T. JONES were deprived of rights,

privileges and immunities secured to them by the Fourth and Fourteenth Amendments to the

Constitution of the United States and laws enacted thereunder. Therefore, defendants are liable to

plaintiffs pursuant to 42 U.S.C. §1983.

         64.    In addition, the misconduct described herein was undertaken pursuant to the policy

and practice of the Chicago Police Department in that:

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         a.     As a matter of both policy and practice, the Chicago Police Department

                directly encourages, and thereby the moving force behind, the very type of

                police misconduct at issue here by failing to adequately train, supervise, and

                control its officers, such that its failure to do so manifests deliberate

                indifference.

         b.     As a matter of both policy and practice, the Chicago Police Department

                facilitates the very type of police misconduct at issue here by failing to

                adequately punish and discipline prior instances of misconduct, thereby

                leading Chicago police officers to believe their actions will never be

                scrutinized and, in that way, directly encourages future abuses such as those

                affecting plaintiffs.

         c.     By use of an express policy of the Chicago Police Department, officers

                improperly use so-called “John Doe” informants and obtain so-called “John

                Doe” warrants without verifying the reliability of the informants and/or the

                reliability of their information.

         d.     As a matter of implied policy and widespread practice so prevalent as to

                comprise municipal policy, officers of the Chicago Police Department

                illegally enter and search homes without a warrant, improperly use “John

                Doe” informants, improperly obtain so-called “John Doe” warrants without

                verifying the reliability of the informants and the reliability of their

                information, misrepresent information to magistrates in order to obtain

                warrants, fail to document police activity in reports which may be questioned

                in order to avoid scrutiny and accountability, and illegally seize, detain, and

                use force on citizens in a manner similar to that alleged by plaintiffs herein.

         e.     Municipal policy-makers are aware of, and condone and facilitate by their

                inaction, a “code of silence” in the Chicago Police Department, by which


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                        officers fail to report misconduct committed by other officers, such as In

                        addition, the misconduct at issue in this case.

                f.      The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                        described in Count IV, despite actual knowledge of same, thereby causing

                        the types of injuries alleged herein.

         65.    By reason of the policies, practices, and procedures of defendant CITY OF

CHICAGO, plaintiffs were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder. Therefore, defendant CITY OF CHICAGO is liable to plaintiffs pursuant to 42 U.S.C.

§1983.

                                         COUNT V
Plaintiffs LOIS JONES and LARRY T. JONES Against Defendants OLSON, MALENOCK,
  BRENNAN, UNKNOWN OFFICERS, and CITY OF CHICAGO for State Supplemental
               Claim of Trespass and Illegal Search of Home on June 25, 2012

         66.    Plaintiffs LOIS JONES and LARRY T. JONES incorporate and reallege paragraphs

1 - 44, as though set forth herein in their entirety.

         67.    Defendants OLSON, MALENOCK, BRENNAN, and UNKNOWN OFFICERS

entered and searched plaintiffs’ home at 1244 N. Mason Street in Chicago, Illinois, on June 25,

2010, without a warrant for the home, without permission, and without legal cause, thus invading

and violating plaintiffs’ security and privacy.

         68.    Defendants OLSON, MALENOCK, BRENNAN, and UNKNOWN OFFICERS

were employees or agents of the CITY OF CHICAGO and were performing duties within the scope

of their employment.

         69.    Defendants OLSON, MALENOCK, BRENNAN, and UNKNOWN OFFICERS are

liable to plaintiffs under Illinois law for the state supplemental claim of trespass and illegal search.

         70.    Defendant CITY OF CHICAGO is liable to plaintiffs pursuant to the doctrine of

respondeat superior.



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                                  COUNT VI
Plaintiffs LOIS JONES and LARRY T. JONES Against Defendants OLSON and CITY OF
                  CHICAGO for Supervisory Liability on June 25, 2012

        71.     Plaintiffs LOIS JONES and LARRY T. JONES incorporate and reallege paragraphs

1 - 44, as though set forth herein in their entirety.

        72.     Defendant OLSON was a supervisory officer who approved, condoned, or turned a

blind eye to unconstitutional conduct at the Jones home on June 25, 2012, and therefore, is liable as

a supervisor.

        73.     By reason of the conduct of defendant police officer, plaintiffs LOIS JONES and

LARRY T. JONES were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder. Therefore, defendant OLSON is liable to plaintiffs pursuant to 42 U.S.C. §1983.

        74.     In addition, the misconduct described herein was undertaken pursuant to the policy

and practice of the Chicago Police Department in that:

                a.      As a matter of both policy and practice, the Chicago Police Department

                        directly encourages, and thereby the moving force behind, the very type of

                        police misconduct at issue here by failing to adequately train, supervise, and

                        control its officers, such that its failure to do so manifests deliberate

                        indifference.

                b.      As a matter of both policy and practice, the Chicago Police Department

                        facilitates the very type of police misconduct at issue here by failing to

                        adequately punish and discipline prior instances of misconduct, thereby

                        leading Chicago police officers to believe their actions will never be

                        scrutinized and, in that way, directly encourages future abuses such as those

                        affecting plaintiffs.

                c.      By use of an express policy of the Chicago Police Department, officers

                        improperly use so-called “John Doe” informants and obtain so-called “John



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                      Doe” warrants without verifying the reliability of the informants and/or the

                      reliability of their information.

               d.     As a matter of implied policy and widespread practice so prevalent as to

                      comprise municipal policy, officers of the Chicago Police Department

                      illegally enter and search homes without a warrant, improperly use “John

                      Doe” informants, improperly obtain so-called “John Doe” warrants without

                      verifying the reliability of the informants and the reliability of their

                      information, misrepresent information to magistrates in order to obtain

                      warrants, fail to document police activity in reports which may be questioned

                      in order to avoid scrutiny and accountability, and illegally seize, detain, and

                      use force on citizens in a manner similar to that alleged by plaintiffs herein.

               e.     Municipal policy-makers are aware of, and condone and facilitate by their

                      inaction, a “code of silence” in the Chicago Police Department, by which

                      officers fail to report misconduct committed by other officers, such as In

                      addition, the misconduct at issue in this case.

               f.     The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                      described in Count VI, despite actual knowledge of same, thereby causing

                      the types of injuries alleged herein.

         75.   By reason of the policies, practices, and procedures of defendant CITY OF

CHICAGO, plaintiffs were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder. Therefore, defendant CITY OF CHICAGO is liable to plaintiffs pursuant to 42 U.S.C.

§1983.




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                                      COUNT VII
    Plaintiffs LOIS JONES and LARRY T. JONES Against Defendants BALDASSANO,
   MAHER, WOOD, PARKS, GRANVILLE, RITTORNO, UNKNOWN OFFICERS, and
        CITY OF CHICAGO for Intentionally Procuring a Search Warrant Through
                       Misrepresentation, Executed on July 18, 2012

        76.     Plaintiffs LOIS JONES and LARRY T. JONES incorporate and reallege paragraphs

1 - 44, as though set forth herein in their entirety.

        77.     Defendants BALDASSANO and officers assisting him, MAHER, WOOD, PARKS,

GRANVILLE, RITTORNO, and UNKNOWN OFFICERS, procured a search warrant from the

criminal court judge for 1244 N. Mason, on or about July 17, 2012, knowing that the informant was

unreliable and that his information about the location and alleged criminal activity was unreliable.

        78.     Defendants BALDASSANO and officers assisting him, MAHER, WOOD, PARKS,

GRANVILLE, RITTORNO, and UNKNOWN OFFICERS, procured a search warrant from the

criminal court judge, knowing that the information presented to the judge was not true, had not been

verified, and was not verifiable.

        79.     Defendants BALDASSANO and officers assisting him, MAHER, WOOD, PARKS,

GRANVILLE, RITTORNO, and UNKNOWN OFFICERS, intentionally presented false

information to the judge in order to obtain the search warrant and it was because of that false

information that the judge signed the warrant.

        80.     Defendants BALDASSANO and officers assisting him, MAHER, WOOD, PARKS,

GRANVILLE, RITTORNO, and UNKNOWN OFFICERS, justify their illegal search of plaintiffs’

home with the fraudulently obtained warrant.

        81.     By reason of the conduct of defendants BALDASSANO and officers assisting him,

MAHER, WOOD, PARKS, GRANVILLE, RITTORNO, and UNKNOWN OFFICERS, plaintiffs

LOIS JONES and LARRY T. JONES were deprived of rights, privileges and immunities secured to

them by the Fourth and Fourteenth Amendments to the Constitution of the United States and laws

enacted thereunder. Therefore, defendants are liable to plaintiffs pursuant to 42 U.S.C. §1983.



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       82.     In addition, the misconduct described here was undertaken pursuant to the policy and

practice of the Chicago Police Department in that:

               a.     As a matter of both policy and practice, the Chicago Police Department

                      directly encourages, and thereby the moving force behind, the very type of

                      police misconduct at issue here by failing to adequately train, supervise, and

                      control its officers, such that its failure to do so manifests deliberate

                      indifference.

               b.     As a matter of both policy and practice, the Chicago Police Department

                      facilitates the very type of police misconduct at issue here by failing to

                      adequately punish and discipline prior instances of misconduct, thereby

                      leading Chicago police officers to believe their actions will never be

                      scrutinized and, in that way, directly encourages future abuses such as those

                      affecting plaintiffs.

               c.     By use of an express policy of the Chicago Police Department, officers

                      improperly use so-called “John Doe” informants and obtain so-called “John

                      Doe” warrants without verifying the reliability of the informants and/or the

                      reliability of their information.

               d.     As a matter of implied policy and widespread practice so prevalent as to

                      comprise municipal policy, officers of the Chicago Police Department

                      illegally enter and search homes without a warrant, improperly use “John

                      Doe” informants, improperly obtain so-called “John Doe” warrants without

                      verifying the reliability of the informants and the reliability of their

                      information, misrepresent information to magistrates in order to obtain

                      warrants, fail to document police activity in reports which may be questioned

                      in order to avoid scrutiny and accountability, and illegally seize, detain, and



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                        use force on citizens in a manner similar to that alleged by plaintiffs in Count

                        herein.

                e.      Municipal policy-makers are aware of, and condone and facilitate by their

                        inaction, a “code of silence” in the Chicago Police Department, by which

                        officers fail to report misconduct committed by other officers, such as In

                        addition, the misconduct at issue in this case.

                f.      The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                        described in Count VII, despite actual knowledge of same, thereby causing

                        the types of injuries alleged herein.

         83.    By reason of the policies, practices, and procedures of defendant CITY OF

CHICAGO, plaintiffs were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder. Therefore, defendant CITY OF CHICAGO is liable to plaintiffs pursuant to 42 U.S.C.

§1983.

                                  COUNT VIII
    Plaintiffs LOIS JONES and LARRY T. JONES Against Defendants BALDASSANO
   MAHER, WOOD, PARKS, GRANVILLE, RITTORNO, UNKNOWN OFFICERS, and
         CITY OF CHICAGO for Unconstitutional Entry of Home on July 18, 2012

         84.    Plaintiffs LOIS JONES and LARRY T. JONES incorporate and reallege paragraphs

1 - 44, as though set forth herein in their entirety.

         85.    Defendants BALDASSANO, MAHER, WOOD, PARKS, GRANVILLE,

RITTORNO, and UNKNOWN OFFICERS illegally entered plaintiffs’ home at 1244 N. Mason

Street in Chicago, Illinois, on July 18, 2012, without a valid warrant for the home, without

permission, and without legal cause, thus invading and violating plaintiffs’ security and privacy.

         86.    Defendants BALDASSANO, MAHER, WOOD, PARKS, GRANVILLE,

RITTORNO, and UNKNOWN OFFICERS knew that the warrant was not valid.



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       87.     Defendants BALDASSANO, MAHER, WOOD, PARKS, GRANVILLE,

RITTORNO, and UNKNOWN OFFICERS failed to knock and wait a reasonable amount of time

for a response before they broke the door and entered plaintiffs’ home.

       88.     By reason of the conduct of defendants BALDASSANO, MAHER, WOOD,

PARKS, GRANVILLE, RITTORNO, and UNKNOWN OFFICERS, plaintiffs LOIS JONES and

LARRY T. JONES were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder. Therefore, defendants are liable to plaintiffs pursuant to 42 U.S.C. §1983.

       89.     In addition, the misconduct described herein was undertaken pursuant to the policy

and practice of the Chicago Police Department in that:

               a.      As a matter of both policy and practice, the Chicago Police Department

                       directly encourages, and thereby the moving force behind, the very type of

                       police misconduct at issue here by failing to adequately train, supervise, and

                       control its officers, such that its failure to do so manifests deliberate

                       indifference.

               b.      As a matter of both policy and practice, the Chicago Police Department

                       facilitates the very type of police misconduct at issue here by failing to

                       adequately punish and discipline prior instances of misconduct, thereby

                       leading Chicago police officers to believe their actions will never be

                       scrutinized and, in that way, directly encourages future abuses such as those

                       affecting plaintiffs.

               c.      By use of an express policy of the Chicago Police Department, officers

                       improperly use so-called “John Doe” informants and obtain so-called “John

                       Doe” warrants without verifying the reliability of the informants and/or the

                       reliability of their information.



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                d.      As a matter of implied policy and widespread practice so prevalent as to

                        comprise municipal policy, officers of the Chicago Police Department

                        illegally enter and search homes without a warrant, improperly use “John

                        Doe” informants, improperly obtain so-called “John Doe” warrants without

                        verifying the reliability of the informants and the reliability of their

                        information, misrepresent information to magistrates in order to obtain

                        warrants, fail to document police activity in reports which may be questioned

                        in order to avoid scrutiny and accountability, and illegally seize, detain, and

                        use force on citizens in a manner similar to that alleged by plaintiffs herein.

                e.      Municipal policy-makers are aware of, and condone and facilitate by their

                        inaction, a “code of silence” in the Chicago Police Department, by which

                        officers fail to report misconduct committed by other officers, such as In

                        addition, the misconduct at issue in this case.

                f.      The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                        described in Count VIII, despite actual knowledge of same, thereby causing

                        the types of injuries alleged herein.

         90.    By reason of the policies, practices, and procedures of defendant CITY OF

CHICAGO, plaintiffs were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder. Therefore, defendant CITY OF CHICAGO is liable to plaintiffs pursuant to 42 U.S.C.

§1983.

                                   COUNT IX
    Plaintiffs LOIS JONES and LARRY T. JONES Against Defendants BALDASSANO,
   MAHER, WOOD, PARKS, GRANVILLE, RITTORNO, UNKNOWN OFFICERS, and
         CITY OF CHICAGO for Unconstitutional Search of Home on July 18, 2012

         91.    Plaintiffs LOIS JONES and LARRY T. JONES incorporate and reallege paragraphs

1 - 44, as though set forth herein in their entirety.

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       92.     Defendants BALDASSANO, MAHER, WOOD, PARKS, GRANVILLE,

RITTORNO, and UNKNOWN OFFICERS illegally searched plaintiffs’ home at 1244 N. Mason

Street in Chicago, Illinois, on July 18, 2012, without a valid warrant for the home, without

permission, and without legal cause, thus invading and violating plaintiffs’ security and privacy.

       93.     Defendants BALDASSANO, MAHER, WOOD, PARKS, GRANVILLE,

RITTORNO, and UNKNOWN OFFICERS knew that the warrant was not valid.

       94.     By reason of the conduct of defendants BALDASSANO, MAHER, WOOD,

PARKS, GRANVILLE, RITTORNO, and UNKNOWN OFFICERS, plaintiffs LOIS JONES and

LARRY T. JONES were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder. Therefore, defendants are liable to plaintiffs pursuant to 42 U.S.C. §1983.

       95.     In addition, the misconduct described herein was undertaken pursuant to the policy

and practice of the Chicago Police Department in that:

               a.      As a matter of both policy and practice, the Chicago Police Department

                       directly encourages, and thereby the moving force behind, the very type of

                       police misconduct at issue here by failing to adequately train, supervise, and

                       control its officers, such that its failure to do so manifests deliberate

                       indifference.

               b.      As a matter of both policy and practice, the Chicago Police Department

                       facilitates the very type of police misconduct at issue here by failing to

                       adequately punish and discipline prior instances of misconduct, thereby

                       leading Chicago police officers to believe their actions will never be

                       scrutinized and, in that way, directly encourages future abuses such as those

                       affecting plaintiffs.

               c.      By use of an express policy of the Chicago Police Department, officers

                       improperly use so-called “John Doe” informants and obtain so-called “John

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                      Doe” warrants without verifying the reliability of the informants and/or the

                      reliability of their information.

               d.     As a matter of implied policy and widespread practice so prevalent as to

                      comprise municipal policy, officers of the Chicago Police Department

                      illegally enter and search homes without a warrant, improperly use “John

                      Doe” informants, improperly obtain so-called “John Doe” warrants without

                      verifying the reliability of the informants and the reliability of their

                      information, misrepresent information to magistrates in order to obtain

                      warrants, fail to document police activity in reports which may be questioned

                      in order to avoid scrutiny and accountability, and illegally seize, detain, and

                      use force on citizens in a manner similar to that alleged by plaintiffs herein.

               e.     Municipal policy-makers are aware of, and condone and facilitate by their

                      inaction, a “code of silence” in the Chicago Police Department, by which

                      officers fail to report misconduct committed by other officers, such as In

                      addition, the misconduct at issue in this case.

               f.     The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                      described in Count IX, despite actual knowledge of same, thereby causing

                      the types of injuries alleged herein.

         96.   By reason of the policies, practices, and procedures of defendant CITY OF

CHICAGO, plaintiffs were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder. Therefore, defendant CITY OF CHICAGO is liable to plaintiffs pursuant to 42 U.S.C.

§1983.




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                                     COUNT X
Plaintiffs LOIS JONES, LARRY T. JONES, TARON S. JONES, and AMBRIANA JENKINS
      Against Defendants BALDASSANO, MAHER, WOOD, PARKS, GRANVILLE,
  RITTORNO, UNKNOWN OFFICERS, and CITY OF CHICAGO for Illegal Seizure and
                             Detention on July 18, 2012

       97.      Plaintiffs LOIS JONES, LARRY T. JONES, TARON S. JONES, and AMBRIANA

JENKINS incorporate and reallege paragraphs 1 - 44, as though set forth herein in their entirety.

       98.      Plaintiff TARON S. JONES and AMBRIANA JENKINS were cuffed to a fence

outside TARON’s grandparents’ home.

       99.      Plaintiff LARRY T. JONES was cuffed inside his home.

       100.     Plaintiffs LOIS JONES, LARRY T. JONES, TARON S. JONES, and AMBRIANA

JENKINS were seized and detained by defendants BALDASSANO, MAHER, WOOD, PARKS,

GRANVILLE, RITTORNO, and UNKNOWN OFFICERS .

       101.     The seizure and detention of plaintiffs were without probable cause and

unreasonable.

       102.     By reason of the conduct of defendants BALDASSANO, MAHER, WOOD,

PARKS, GRANVILLE, RITTORNO and UNKNOWN OFFICERS, plaintiffs LOIS JONES,

LARRY T. JONES, TARON S. JONES, and AMBRIANA JENKINS were deprived of rights,

privileges and immunities secured to them by the Fourth and Fourteenth Amendments to the

Constitution of the United States and laws enacted thereunder. Therefore, defendants are liable to

plaintiffs pursuant to 42 U.S.C. §1983.

       103.     In addition, the misconduct described herein was undertaken pursuant to the policy

and practice of the Chicago Police Department in that:

                a.     As a matter of both policy and practice, the Chicago Police Department

                       directly encourages, and thereby the moving force behind, the very type of

                       police misconduct at issue here by failing to adequately train, supervise, and

                       control its officers, such that its failure to do so manifests deliberate

                       indifference.

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         b.     As a matter of both policy and practice, the Chicago Police Department

                facilitates the very type of police misconduct at issue here by failing to

                adequately punish and discipline prior instances of misconduct, thereby

                leading Chicago police officers to believe their actions will never be

                scrutinized and, in that way, directly encourages future abuses such as those

                affecting plaintiffs.

         c.     By use of an express policy of the Chicago Police Department, officers

                improperly use so-called “John Doe” informants and obtain so-called “John

                Doe” warrants without verifying the reliability of the informants and/or the

                reliability of their information.

         d.     As a matter of implied policy and widespread practice so prevalent as to

                comprise municipal policy, officers of the Chicago Police Department

                illegally enter and search homes without a warrant, improperly use “John

                Doe” informants, improperly obtain so-called “John Doe” warrants without

                verifying the reliability of the informants and the reliability of their

                information, misrepresent information to magistrates in order to obtain

                warrants, fail to document police activity in reports which may be questioned

                in order to avoid scrutiny and accountability, and illegally seize, detain, and

                use force on citizens in a manner similar to that alleged by plaintiffs herein.

         e.     Municipal policy-makers are aware of, and condone and facilitate by their

                inaction, a “code of silence” in the Chicago Police Department, by which

                officers fail to report misconduct committed by other officers, such as In

                addition, the misconduct at issue in this case.

         f.     The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                described in Count X, despite actual knowledge of same, thereby causing the

                types of injuries alleged herein.

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         104.   By reason of the policies, practices, and procedures of defendant CITY OF

CHICAGO, plaintiffs were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder. Therefore, defendant CITY OF CHICAGO is liable to plaintiffs pursuant to 42 U.S.C.

§1983.

                                    COUNT XI
Plaintiffs LOIS JONES, LARRY T. JONES, TARON S. JONES, and AMBRIANA JENKINS
       Against Defendants BALDASSANO, MAHER, WOOD, PARKS, GRANVILLE,
  RITTORNO, UNKNOWN OFFICERS, and CITY OF CHICAGO for Excessive Force on
                                   July 18, 2012

         105.   Plaintiffs LOIS JONES, LARRY T. JONES, TARON S. JONES, and AMBRIANA

JENKINS incorporate and reallege paragraphs 1 - 44, as though set forth herein in their entirety.

         106.   The force used by defendants BALDASSANO, MAHER, WOOD, PARKS,

GRANVILLE, RITTORNO, and UNKNOWN OFFICERS in accosting plaintiffs at gunpoint,

placing overly tight handcuffs on the male plaintiffs, and cuffing TARON S. JONES and

AMBRIANA JENKINS to the fence was excessive, unnecessary, unreasonable, and without legal

cause.

         107.   By reason of the conduct of defendants BALDASSANO, MAHER, WOOD,

PARKS, GRANVILLE, RITTORNO, and UNKNOWN OFFICERS, plaintiffs LOIS JONES,

LARRY T. JONES, TARON S. JONES, and AMBRIANA JENKINS were deprived of rights,

privileges and immunities secured to them by the Fourth and Fourteenth Amendments to the

Constitution of the United States and laws enacted thereunder. Therefore, defendants are liable to

plaintiffs pursuant to 42 U.S.C. §1983.

         108.   In addition, the misconduct described herein was undertaken pursuant to the policy

and practice of the Chicago Police Department in that:

                a.     As a matter of both policy and practice, the Chicago Police Department

                       directly encourages, and thereby the moving force behind, the very type of


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                police misconduct at issue here by failing to adequately train, supervise, and

                control its officers, such that its failure to do so manifests deliberate

                indifference.

         b.     As a matter of both policy and practice, the Chicago Police Department

                facilitates the very type of police misconduct at issue here by failing to

                adequately punish and discipline prior instances of misconduct, thereby

                leading Chicago police officers to believe their actions will never be

                scrutinized and, in that way, directly encourages future abuses such as those

                affecting plaintiffs.

         c.     By use of an express policy of the Chicago Police Department, officers

                improperly use so-called “John Doe” informants and obtain so-called “John

                Doe” warrants without verifying the reliability of the informants and/or the

                reliability of their information.

         d.     As a matter of implied policy and widespread practice so prevalent as to

                comprise municipal policy, officers of the Chicago Police Department

                illegally enter and search homes without a warrant, improperly use “John

                Doe” informants, improperly obtain so-called “John Doe” warrants without

                verifying the reliability of the informants and the reliability of their

                information, misrepresent information to magistrates in order to obtain

                warrants, fail to document police activity in reports which may be questioned

                in order to avoid scrutiny and accountability, and illegally seize, detain, and

                use force on citizens in a manner similar to that alleged by plaintiffs herein.

         e.     Municipal policy-makers are aware of, and condone and facilitate by their

                inaction, a “code of silence” in the Chicago Police Department, by which

                officers fail to report misconduct committed by other officers, such as In

                addition, the misconduct at issue in this case.

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                    f.     The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                           described in Count XI, despite actual knowledge of same, thereby causing

                           the types of injuries alleged herein.

         109.       By reason of the policies, practices, and procedures of defendant CITY OF

CHICAGO, plaintiffs were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder. Therefore, defendant CITY OF CHICAGO is liable to plaintiffs pursuant to 42 U.S.C.

§1983.

                                      COUNT XII
Plaintiffs LOIS JONES, LARRY T. JONES, TARON S. JONES, and AMBRIANA JENKINS
       Against Defendants BALDASSANO, MAHER, WOOD, PARKS, GRANVILLE,
 RITTORNO, UNKNOWN OFFICERS, and CITY OF CHICAGO for State Supplemental
                            Claim of Battery on July 18, 2012

         110.       Plaintiffs LOIS JONES, LARRY T. JONES, TARON S. JONES, and AMBRIANA

JENKINS incorporate and reallege paragraphs 1 - 44, as though set forth herein in their entirety.

         111        The physical contact by defendants BALDASSANO, MAHER, WOOD, PARKS,

GRANVILLE, RITTORNO, and UNKNOWN OFFICERS was offensive and injurious, and against

plaintiffs’ will.

         112        BALDASSANO, MAHER, WOOD, PARKS, GRANVILLE, RITTORNO, and

UNKNOWN OFFICERS were employees or agents of the CITY OF CHICAGO and were

performing duties within the scope of their employment are liable to plaintiffs under Illinois law for

the state supplemental claim of battery.

         113        BALDASSANO, MAHER, WOOD, PARKS, GRANVILLE, RITTORNO, and

UNKNOWN OFFICERS are liable to plaintiffs under Illinois law for the state supplemental claim

of battery.

         114.       Defendant CITY OF CHICAGO is liable to plaintiffs pursuant to the doctrine of

respondeat superior.


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                                  COUNT XIII
Plaintiffs LOIS JONES, LARRY T. JONES, TARON S. JONES, and AMBRIANA JENKINS
Against Defendants MAHER and CITY OF CHICAGO for Supervisory Liability on July 18,
                                      2012

       115.    Plaintiffs, LOIS JONES, LARRY T. JONES, TARON S. JONES, and AMBRIANA

JENKINS, incorporate and reallege paragraphs 1 - 44, as though set forth herein in their entirety.

       116.    Defendant MAHER was a supervisory officers who approved, condoned, or turned a

blind eye to unconstitutional conduct at the Jones home on July 18, 2012, and therefore, is liable as a

supervisor.

       117.    By reason of the conduct of defendant police officer, plaintiffs, LOIS JONES,

LARRY T. JONES, TARON S. JONES, and AMBRIANA JENKINS, were deprived of rights,

privileges and immunities secured to them by the Fourth and Fourteenth Amendments to the

Constitution of the United States and laws enacted thereunder. Therefore, defendant MAHER is

liable to plaintiffs pursuant to 42 U.S.C. §1983.

       118.    In addition, the misconduct described herein was undertaken pursuant to the policy

and practice of the Chicago Police Department in that:

               a.      As a matter of both policy and practice, the Chicago Police Department

                       directly encourages, and thereby the moving force behind, the very type of

                       police misconduct at issue here by failing to adequately train, supervise, and

                       control its officers, such that its failure to do so manifests deliberate

                       indifference.

               b.      As a matter of both policy and practice, the Chicago Police Department

                       facilitates the very type of police misconduct at issue here by failing to

                       adequately punish and discipline prior instances of misconduct, thereby

                       leading Chicago police officers to believe their actions will never be

                       scrutinized and, in that way, directly encourages future abuses such as those

                       affecting plaintiffs.


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                c.     By use of an express policy of the Chicago Police Department, officers

                       improperly use so-called “John Doe” informants and obtain so-called “John

                       Doe” warrants without verifying the reliability of the informants and/or the

                       reliability of their information.

                d.     As a matter of implied policy and widespread practice so prevalent as to

                       comprise municipal policy, officers of the Chicago Police Department

                       illegally enter and search homes without a warrant, improperly use “John

                       Doe” informants, improperly obtain so-called “John Doe” warrants without

                       verifying the reliability of the informants and the reliability of their

                       information, misrepresent information to magistrates in order to obtain

                       warrants, fail to document police activity in reports which may be questioned

                       in order to avoid scrutiny and accountability, and illegally seize, detain, and

                       use force on citizens in a manner similar to that alleged by plaintiffs herein.

                e.     Municipal policy-makers are aware of, and condone and facilitate by their

                       inaction, a “code of silence” in the Chicago Police Department, by which

                       officers fail to report misconduct committed by other officers, such as In

                       addition, the misconduct at issue in this case.

                f.     The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                       described in Count XIII, despite actual knowledge of same, thereby causing

                       the types of injuries alleged herein.

         119.   By reason of the policies, practices, and procedures of defendant CITY OF

CHICAGO, plaintiffs were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder. Therefore, defendant CITY OF CHICAGO is liable to plaintiffs pursuant to 42 U.S.C.

§1983.



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                                  COUNT XIV
Plaintiffs LOIS JONES and LARRY T. JONES Against Defendants MIEHLE, JANNOTTA,
   SALVETTI, SENG, and CITY OF CHICAGO for Unconstitutional Entry of Home on
                                 August 21, 2013

        120.    Plaintiffs LOIS JONES and LARRY T. JONES incorporate and reallege paragraphs

1 - 44, as though set forth herein in their entirety.

        121.    Defendants MIEHLE, JANNOTTA, SALVETTI, and SENG entered plaintiffs’

home at 1244 N. Mason Street in Chicago, Illinois, on August 21, 2013, without a warrant for the

home, without permission, and without legal cause, thus invading and violating plaintiffs’ security

and privacy.

        122.    By reason of the conduct of defendants MIEHLE, JANNOTTA, SALVETTI, and

SENG, plaintiffs LOIS JONES and LARRY T. JONES were deprived of rights, privileges and

immunities secured to them by the Fourth and Fourteenth Amendments to the Constitution of the

United States and laws enacted thereunder. Therefore, defendants are liable to plaintiffs pursuant to

42 U.S.C. §1983.

        123.    In addition, the misconduct described herein was undertaken pursuant to the policy

and practice of the Chicago Police Department in that:

                a.      As a matter of both policy and practice, the Chicago Police Department

                        directly encourages, and thereby the moving force behind, the very type of

                        police misconduct at issue here by failing to adequately train, supervise, and

                        control its officers, such that its failure to do so manifests deliberate

                        indifference.

                b.      As a matter of both policy and practice, the Chicago Police Department

                        facilitates the very type of police misconduct at issue here by failing to

                        adequately punish and discipline prior instances of misconduct, thereby

                        leading Chicago police officers to believe their actions will never be




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                      scrutinized and, in that way, directly encourages future abuses such as those

                      affecting plaintiffs.

              c.      By use of an express policy of the Chicago Police Department, officers

                      improperly use so-called “John Doe” informants and obtain so-called “John

                      Doe” warrants without verifying the reliability of the informants and/or the

                      reliability of their information.

              d.      As a matter of implied policy and widespread practice so prevalent as to

                      comprise municipal policy, officers of the Chicago Police Department

                      illegally enter and search homes without a warrant, improperly use “John

                      Doe” informants, improperly obtain so-called “John Doe” warrants without

                      verifying the reliability of the informants and the reliability of their

                      information, misrepresent information to magistrates in order to obtain

                      warrants, fail to document police activity in reports which may be questioned

                      in order to avoid scrutiny and accountability, and illegally seize, detain, and

                      use force on citizens in a manner similar to that alleged by plaintiffs herein.

              e.      Municipal policy-makers are aware of, and condone and facilitate by their

                      inaction, a “code of silence” in the Chicago Police Department, by which

                      officers fail to report misconduct committed by other officers, such as In

                      addition, the misconduct at issue in this case.

              f.      The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                      described in Count XIV, despite actual knowledge of same, thereby causing

                      the types of injuries alleged herein.

       124.   By reason of the policies, practices, and procedures of defendant CITY OF

CHICAGO, plaintiffs were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted



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thereunder. Therefore, defendant CITY OF CHICAGO is liable to plaintiffs pursuant to 42 U.S.C.

§1983.

                                   COUNT XV
Plaintiffs LOIS JONES and LARRY T. JONES Against Defendants MIEHLE, JANNOTTA,
   SALVETTI, SENG, and CITY OF CHICAGO for Unconstitutional Search of Home on
                                 August 21, 2013

         125.   Plaintiffs LOIS JONES and LARRY T. JONES incorporate and reallege paragraphs

1 - 44, as though set forth herein in their entirety.

         126.   Defendants MIEHLE, JANNOTTA, SALVETTI, and SENG searched plaintiffs’

home at 1244 N. Mason Street in Chicago, Illinois, on August 21, 2013, without a warrant for the

home, without permission, and without legal cause, thus invading and violating plaintiffs’ security

and privacy.

         127.   By reason of the conduct of defendants MIEHLE, JANNOTTA, SALVETTI, and

SENG, plaintiffs LOIS JONES and LARRY T. JONES were deprived of rights, privileges and

immunities secured to them by the Fourth and Fourteenth Amendments to the Constitution of the

United States and laws enacted thereunder. Therefore, defendants are liable to plaintiffs pursuant to

42 U.S.C. §1983.

         128.   In addition, the misconduct described herein was undertaken pursuant to the policy

and practice of the Chicago Police Department in that:

                a.      As a matter of both policy and practice, the Chicago Police Department

                        directly encourages, and thereby the moving force behind, the very type of

                        police misconduct at issue here by failing to adequately train, supervise, and

                        control its officers, such that its failure to do so manifests deliberate

                        indifference.

                b.      As a matter of both policy and practice, the Chicago Police Department

                        facilitates the very type of police misconduct at issue here by failing to

                        adequately punish and discipline prior instances of misconduct, thereby

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                      leading Chicago police officers to believe their actions will never be

                      scrutinized and, in that way, directly encourages future abuses such as those

                      affecting plaintiffs.

              c.      By use of an express policy of the Chicago Police Department, officers

                      improperly use so-called “John Doe” informants and obtain so-called “John

                      Doe” warrants without verifying the reliability of the informants and/or the

                      reliability of their information.

              d.      As a matter of implied policy and widespread practice so prevalent as to

                      comprise municipal policy, officers of the Chicago Police Department

                      illegally enter and search homes without a warrant, improperly use “John

                      Doe” informants, improperly obtain so-called “John Doe” warrants without

                      verifying the reliability of the informants and the reliability of their

                      information, misrepresent information to magistrates in order to obtain

                      warrants, fail to document police activity in reports which may be questioned

                      in order to avoid scrutiny and accountability, and illegally seize, detain, and

                      use force on citizens in a manner similar to that alleged by plaintiffs herein.

              e.      Municipal policy-makers are aware of, and condone and facilitate by their

                      inaction, a “code of silence” in the Chicago Police Department, by which

                      officers fail to report misconduct committed by other officers, such as the

                      misconduct at issue in this case.

              f.      The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                      described in Count XV, despite actual knowledge of same, thereby causing

                      the types of injuries alleged herein.

       129.   By reason of the policies, practices, and procedures of defendant CITY OF

CHICAGO, plaintiffs were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted



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thereunder. Therefore, defendant CITY OF CHICAGO is liable to plaintiffs pursuant to 42 U.S.C.

§1983.


                                      COUNT XVI
Plaintiffs LOIS JONES and LARRY T. JONES Against Defendants MIEHLE, JANNOTTA,
SALVETTI, SENG, and CITY OF CHICAGO for State Supplemental Claim of Trespass and
                       Illegal Search of Home on August 21, 2013

         130.   Plaintiffs LOIS JONES and LARRY T. JONES incorporate and reallege paragraphs

1 - 44, as though set forth herein in their entirety.

         131.   Defendants MIEHLE, JANNOTTA, SALVETTI, and SENG entered and searched

plaintiffs’ home at 1244 N. Mason Street in Chicago, Illinois, on June 25, 2010, without a warrant

for the home, without permission, and without legal cause, thus invading and violating plaintiffs’

security and privacy.

         132.   Defendants MIEHLE, JANNOTTA, SALVETTI, and SENG were employees or

agents of the CITY OF CHICAGO and were performing duties within the scope of their

employment.

         133.   Defendants MIEHLE, JANNOTTA, SALVETTI, and SENG are liable to plaintiffs

LOIS JONES and LARRY T. JONES under Illinois law for the state supplemental claim of trespass

and illegal search.

         134.   Defendant CITY OF CHICAGO is liable to plaintiffs pursuant to the doctrine of

respondeat superior.

                                     COUNT XVII
Plaintiffs LOIS JONES, TARON S. JONES, and JACOB M. D. JONES Against Defendants
MIEHLE, JANNOTTA, SALVETTI, SENG, and CITY OF CHICAGO for Illegal Seizure,
                   Detention, and Search of Person on August 21, 2013

         135.   Plaintiffs LOIS JONES, TARON S. JONES, and JACOB M. D. JONES incorporate

and reallege paragraphs 1 - 44, as though set forth herein in their entirety.




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       136.     Plaintiffs LOIS JONES, TARON S. JONES, and JACOB M. D. JONES were seized

and detained while their home was being searched on August 21, 2013.

       137.     Plaintiffs TARON S. JONES and JACOB M. D. JONES were cuffed and searched.

       138.     The seizure, detention, and search of plaintiffs were without probable cause and

unreasonable.

       139.     By reason of the conduct of defendants MIEHLE, JANNOTTA, SALVETTI, and

SENG, plaintiffs LOIS JONES, TARON S. JONES, and JACOB M. D. JONES were deprived of

rights, privileges and immunities secured to them by the Fourth and Fourteenth Amendments to the

Constitution of the United States and laws enacted thereunder. Therefore, defendants are liable to

plaintiffs pursuant to 42 U.S.C. §1983.

       140.     In addition, the misconduct described herein was undertaken pursuant to the policy

and practice of the Chicago Police Department in that:

                a.     As a matter of both policy and practice, the Chicago Police Department

                       directly encourages, and thereby the moving force behind, the very type of

                       police misconduct at issue here by failing to adequately train, supervise, and

                       control its officers, such that its failure to do so manifests deliberate

                       indifference.

                b.     As a matter of both policy and practice, the Chicago Police Department

                       facilitates the very type of police misconduct at issue here by failing to

                       adequately punish and discipline prior instances of misconduct, thereby

                       leading Chicago police officers to believe their actions will never be

                       scrutinized and, in that way, directly encourages future abuses such as those

                       affecting plaintiffs.

                c.     By use of an express policy of the Chicago Police Department, officers

                       improperly use so-called “John Doe” informants and obtain so-called “John



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                       Doe” warrants without verifying the reliability of the informants and/or the

                       reliability of their information.

                d.     As a matter of implied policy and widespread practice so prevalent as to

                       comprise municipal policy, officers of the Chicago Police Department

                       illegally enter and search homes without a warrant, improperly use “John

                       Doe” informants, improperly obtain so-called “John Doe” warrants without

                       verifying the reliability of the informants and the reliability of their

                       information, misrepresent information to magistrates in order to obtain

                       warrants, fail to document police activity in reports which may be questioned

                       in order to avoid scrutiny and accountability, and illegally seize, detain, and

                       use force on citizens in a manner similar to that alleged by plaintiffs herein.

                e.     Municipal policy-makers are aware of, and condone and facilitate by their

                       inaction, a “code of silence” in the Chicago Police Department, by which

                       officers fail to report misconduct committed by other officers, such as the

                       misconduct at issue in this case.

                f.     The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                       described in Count XVII, despite actual knowledge of same, thereby causing

                       the types of injuries alleged herein.

         141.   By reason of the policies, practices, and procedures of defendant CITY OF

CHICAGO, plaintiffs were deprived of rights, privileges and immunities secured to them by the

Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder. Therefore, defendant CITY OF CHICAGO is liable to plaintiffs pursuant to 42 U.S.C.

§1983.




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                                     COUNT XVIII
Plaintiffs LOIS JONES, TARON S. JONES, and JACOB M. D. JONES Against Defendants
     MIEHLE, JANNOTTA, SALVETTI, SENG, and CITY OF CHICAGO for State
              Supplemental Claims of Assault and Battery on August 21, 2013

           142.   Plaintiffs LOIS JONES, TARON S. JONES, and JACOB M. D. JONES incorporate

and reallege paragraphs 1 - 44, as though set forth herein in their entirety.

           143.   The threat of physical contact and the physical contact by defendants MIEHLE,

JANNOTTA, SALVETTI, and SENG were offensive and injurious, and against plaintiffs’ will.

           144.   Defendants MIEHLE, JANNOTTA, SALVETTI, and SENG were employees or

agents of the CITY OF CHICAGO and were performing duties within the scope of their

employment are liable to plaintiffs under Illinois law for the state supplemental claims of assault and

battery.

           145. Defendants MIEHLE, JANNOTTA, SALVETTI, and SENG are liable to plaintiffs

LOIS JONES, TARON S. JONES, and JACOB M. D. JONES under Illinois law for the state

supplemental claims of assault and battery.

           146.   Defendant CITY OF CHICAGO is liable to plaintiffs pursuant to the doctrine of

respondeat superior.

                                  COUNT XIX
Plaintiffs LOIS JONES, LARRY T. JONES, TARON S. JONES, JACOB M. D. JONES, and
   AMBRIANA JENKINS Against Defendant CITY OF CHICAGO for Indemnification
                               (735 ILCS 10/9-102)

           147.   Plaintiffs LOIS JONES, LARRY T. JONES, TARON S. JONES, JACOB M. D.

JONES, and AMBRIANA JENKINS incorporate and reallege paragraphs 1 - 146, as though set

forth herein in their entirety.

           148.   In Illinois, public entities are directed to pay any tort judgment for compensatory

damages for which employees are liable within the scope of their employment activities.

           149.   Defendants BALDASSANO, MAHER, WOOD, PARKS, GRANVILLE,

RITTORNO, OLSON, MALENOCK, BRENNAN, MIEHLE, JANNOTTA, SALVETTI, SENG,

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and UNKNOWN OFFICERS were employees of the CITY OF CHICAGO and acted within the

scope of their employment in committing the misconduct described herein.

       150.    Defendant CITY OF CHICAGO is thus liable under the theory of indemnification.



       WHEREFORE, plaintiffs, LOIS JONES, LARRY T. JONES, TARON S. JONES,

JACOB M. D. JONES, and AMBRIANA JENKINS by and through their attorney, Irene K.

Dymkar, request judgment as follows against defendants, BALDASSANO, MAHER, WOOD,

PARKS, GRANVILLE, RITTORNO, OLSON, MALENOCK, BRENNAN, MIEHLE,

JANNOTTA, SALVETTI, SENG, UNKNOWN OFFICERS, and CITY OF CHICAGO, in the

claims set forth above, and specifically:

               A.     That defendants be required to pay plaintiffs general damages, including
               emotional distress, in a sum to be ascertained at a trial of this matter,

               B.      That defendants be required to pay plaintiffs special damages, in a sum to be
               ascertained at a trial of this matter,

               C.      That defendants, except CITY OF CHICAGO, be required to pay plaintiffs
               punitive damages in a sum to be ascertained at a trial of this matter,

               D.      That an injunction be issued against the CITY OF CHICAGO prohibiting it
               from using unconstitutional policies, procedures, and practices pertaining to the
               warrantless searches of homes and the procurement and execution of so-called “John
               Doe” warrants, requiring Chicago police officers to create reports documenting
               every entry and search of a home, and providing other equitable relief as is deemed
               just and proper,

               E.     That a declaratory judgment be issued declaring the Chicago Police
               Department policies, procedures, and practices complained of herein to be
               unconstitutional,

               F.     That defendants be required to pay plaintiffs’ attorneys’ fees pursuant to 42
               U.S.C. §1988, the Equal Access to Justice Act, or any other applicable provision,

               G.     That defendants be required to pay plaintiffs’ costs of the suit herein
               incurred, and

               H.     That plaintiffs be granted such other and further relief as this Court may
               deem just and proper.




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Plaintiffs hereby request A TRIAL BY JURY.


Dated: October 30, 2013                                   /s/ Irene K. Dymkar
                                                              Irene K. Dymkar


Irene K. Dymkar
Attorney for Plaintiffs
300 W. Adams Street, Suite 330
Chicago, IL 60606-5107
(312) 345-0123


                                 CERTIFICATE OF SERVICE


       I, Irene K. Dymkar, an attorney, certify that on the 30th day of October, 2013, a copy of the
above Fourth Amended Civil Rights Complaint was served upon the attorneys for defendants
named below through the Court’s electronic filing system.

       Brian P. Gainer                                George J. Yamin, Jr.
       Alexandria L. Bell                             Raoul Mowatt
       Ann E. Zipfel                                  City of Chicago Department of Law
       Johnson & Bell, Ltd.                           30 N. LaSalle, Suite 900
       33 W. Monroe, Suite 2700                       Chicago, Illinois 60602
       Chicago, Illinois 60603



Dated: October 30, 2013                                  /s/   Irene K. Dymkar
                                                               Irene K. Dymkar




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